Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 1 of 12




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Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 2 of 12




                                  U NITED STATES DISTRICT COU RT
                                  SOUTH ERN D ISTRICT OF FLORIDA

                               CASE N O.11-20427-W ILLIAM SX URNOFF


       DISNEY EN TERPR ISE S,IN C.,
       TW EN TIETH CENTU RY FOX FILM CO RPORATION ,
       UNIVER SAL ClW STUD IO S PRODUCTION S LLLP, '
       COLUM BIA PIC TURES INDUSTRIES,IN C.,and
       W ARN ER BROS.ENTERTAm M ENT IN C .,

       plaintLgj.,
       V.

       H OTFILE CO R#.,AN TON TITOV ,and
       D OES 1-10.

        Defendants.
                                                       l

       HO TFILE CORP.,

       Counterclaim ant,



       W ARNER BRUS.ENTERTAINMENT INC.,
       Counterde#ndant.

                      RULE 26(a)(2)(m R EPO RT O F D R.RICH ARD W ATERM AN

                      M ynameisRichardW aterman andIam an AdjunctProfessorofStatisticsatThe
       W hartén Schoolatthe University ofPennsylvmlia,and the Presidentand Co-Folm derof

       Analytic Business Services,Inc.,a consultnncy focused on providing expertadvice and opinions

       in thefeld ofstatisticalanalysis.Ireceive m yPh.D.in Statistics9om thePennsylvania State

       University in 1993. 1havesubstantialexperiencedesigning and reviewing snm pling protocols

       forvariouslargeorganizations,such astheU nited StatesPostalService,forwhom Idesigned
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 3 of 12


                                                                   CASE NO .11-20427-m LLIAM S/TURN OFF


        and analyzed a nationalm ulti-stage snm ple forthe estim ation ofoperationalcharacteristics. I

        have desipw d sam pling protocolsinvolving vadousGlesharing technologies,specifcally

        Bit-rorrent,GnutellaandUsenei.Ialsohavesubstantialexperiencein designing snmpling

        protocolsin theprivate sector,and have developed m arketresearch studiesfornum erouslarge

        corporate clients,which typically involve issuesrelated to sam pling. Furtherdetailsofm y

        professionalhistozy includingalistofpublicationsIhaveauthored duringthelastten years, can

        be found on the resum e attached msExhibitA . W ithin the lastfouryears,Ihavetestified as an

        expertattrialordeposition in the follow hig cases,asfurtheroutlined in ExhibitB:Arista

        RecordsZZc,e/a1.v.LimeGroup Zf,G etal. No.06-Civ.05936 (S.D.N.Y);Columbia
        Picturesfnlzfu
                     ç/r/eà'
                           ,Inc.etal.v.GaryFung,No.06-CV-5578(C.D.Ca1.);andSchappellv.
        GEICO Coworation,No.1333S2001(Pa-Commw Ct.).lhavesubmittedexpertreportsin
        ColumbiaPicturesIndustries,Inc.etal.v.GaryFungv.No.06-CV-5578(C.D.Ca1.);Arista
       RecordsZZG etal.v.Usenet.com,Inc.,No.07-CV-08822(S.D.N.Y.I;Schappellv.GEICO
        Corporation,No.1333S2001(Pa.Commw.0t.);Freedom M edicalSuppb,Inc.X PMA Capital
       faw.Co.,No.003988(Pa.Commw.Ct.);andBlehm v.AlbertJacobsetall:O9-cv-02865-RPM,
       for theU nited StatesDistrictCourtofColorado. Iam being com pensated form y servicesin this

       caseatarateof$450/110. ($55010. fortestimony).
                           lhavebeen askedbytheplaintifstocreateaproto/ lfordrawingastatistically
       reliable sam ple fora study analv ing the percentageoffilesdownloaded daily thatwere
       identised asinfringing &om thew ebsite operated by thedefendants,w ww.hotfile.com

       (ççliltlt111(,'')
                 3.        Idevised am ethodology,described in m ore detailbelow,to allow fora

       scientifcally reliableand unbic ed snm pleoffilesto be selecte 9om the population ofinterest.
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 4 of 12


                                                                CASE N0.11-20427-W 1LLlA M S/Ttm N0FF


       ARerthe sam ple had been drawn and the contentobtained ifavailable,an analysisofthose files

       wasconductedby acopyrightanalyst M r.ScottZebrak,supervisingatenm in aid ofhis
       analysis. M r.Zebrak'srepprtdescribing theprocesshe followed and hisanalysisisattached

       hereto as ExllibitC. Forthe determ ination ofthe copyrightinfringem entstatus ofeach file in the

       sam ple,lrelied on thew ork and œ nclusionsofM r.Zebrak.
              4.      Basedontheanalysisofthecontintslesin thesample,Iperformedstatistical
       analysesto derive theresultsfortheinfringem entstudy. Those resultsare presented below ,

       beginning with a sum m ary ofm y opinions and conclusionsand followed by a description ofthe

       study,the snm pling protocoland analyses,and the bmsesand remsonsform y opinionsand

       conclusions. ln general,in reaching m y opinionsand coùclusions,Irelied upon m y specialized

       know ledge,education,ahd experience asapplied to the factsand data discussed below ,msw ellas

       dataaboutdownloads &om Hotfleproduced by defendants,and thework and conclusionsofM r.

       Zebrak. The exhibitsIm ay use asa sllm m ary oforin supportform y opinionsare attached

       hereto or are being pm duced concurrently with tltisReport.

              5.      Baseduponmyreview ofthemostrecentdataprovided by M .
                                                                         r.Zebrm
       approxim ately 90.3% ofalldailydownloadsoffileson H otsle were downloadsofinfringing or

        highlylikelyinfrin#ngcontent;appfozmately5.4% ofthedownloadsoffilesperdayonHotfile
        weredownloadsofnon-infringingorhighly likelynon-infringingâles;arldtlxeremaining
        approxim ately 4.3% ofthe downloadsofflesperday on Hotfle were downloads offileswhose

        copyrightstam s could notbe reliably determ ined in thetim e allowed. Ofthe worksclassitied as

        non-ipG nging,0.5% wereidentised asbeinglikelyillegalto disd bute,making theinfringem ent

        analysishereconservative.Tllisanalysiswisbasedondatashowingdownloadsofflesthatwas

        providedbyHotfle.
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 5 of 12


                                                                CASE NO.11-20427-W ILLIAM S/TURNOFF


               6.     n e following describestheprocesseslused to desi> the snm pling protocoland

        selectthe sam ple forthe sttldy:

                      The firststep in devising the sam pling protocolw asto deâne tllerelevant

        population ofinterest9om which the snm ple would beextracted,and to ensurethe population

        wasaccuratelyrepresentedinthesamplingframe.SincetheobjectiveoftheHotâlestudywas
        toanalyzethedailyperoentageofdownloadsoffilesâom Hotflethatwereofinfrin/ngsles,
        the population ofinterestconsistsofdownloadsoffilesfrom Hotfle in a specifed tim e priorto

        the com plaint,January 2011.

               8.     W hile defendantsdid notproduce actual1og data forthe period beforeFebruary

        2011,thèydid produceadatatablecalledftdailydowllload'',thateffciently summarizesallthe
        necessary inform ation thatwould befotmd in a log fileto enable an ine ngem entanalysisofthe

        recorded dow nloads. M y understanding isthatthistableidentifes slesthatwere downloaded in

        aspeciscday(representedintheçtploadid''seld).thedateofdownload(representedinthe
        ttdate''feld),andthenumberoftçpremium''and*fee''downloadsofthefiles(representedinthe
        uprcx
            m izxm''and%tfree''felds).MytmdcrstandingistllatEtpremium''andttfree''downloadsare
        dow nloadsby differentkindsofUSG-S'
                                          . those w ho havepurchmsed HotslePrem ium
        subscriptions,and those thathavenot,respectively. Adding the two togethergivesthe num ber

        ofrecorde dow nloadsperday forthe file on the indicated date. Thus,the ttdailydow nload''data

        containq a sum m ary ofinform ation ofrecorded downloadsby 51e forally particularday.
               9.     Totmderstand thelevelofinfringing activity on Hotflepriortoflingthe

        complaintIlooked atthemonth ofacévitypriortothecomplaintEling,January2011.In order

        totmderstandthenumberofdownloadsperdayinthismonth IloökedatdiFerentrandom days
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 6 of 12


                                                                 CM ENO.ll-20427-WILLIAMS/TURNOFF

        in them onth,and took a smnpleofdownloads from each ofthose days. 1desia ed theprotocol

        to random ly selectfveweekdaysandtwoweekenddays.

               10.     ln the Grststep ofthe protocol,Irandom ly selected fve weekdays and tw o

        w eekend days,by consecutikely assigning each weekday in January 2011 a num berand

        consecutively assir ing each w eekend day in January 2011 a num ber. Ithen used a standard

        random num bergeneratorto generatea separatelistofnum bersforthe setofw eekdaysand the

        setofw eekend days. Tltisis a standard and universally accepted m eansto generate a sim ple

        random sam ple. The days selected by thisprocesswere January 5, 11,20,21,and 24

        (weekdays)andJarmary1and30(weekenddays).
                      Overall,the <tdailydownload''table shows 145,691,820 downloads offilesfrom

        Hotfile in the m onth ofJanuary 2011. On each dateselected,the ttdailydow nload''table shows

        the num berofrecorded downloadsofflesperday. The com bination ofthe tf ee''and

        x'premium''downloadsperda# fortlïeselecte dayswereasfollows:


                   D ate                           D ownload Count

                   2011-Jan-01                     4,180,329

                   2011-Jan-05                     4,677,811
                   201ILJan-l1                     4,568,087

                  ï011-Jan-20                      4,496,274

                  2011-Jan-21                      4,631,944

                  2011Uan-24'                      4,738,937

                  2011-Jan-30                      5,125,537
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 7 of 12


                                                                   CASE NO.11-20427-W ILLIAM SX URNOFF


                        W ithin each selected day,the sample fram ew msobtained by taking the

        dailydownload data and expanding the record ofeach tile to capturethetotalnum berofrecorded

        dow nloadsofthatGleon thatday. Forexnm ple,ifa file wasdownloaded 5 tim esin a day, the

        reoord would be expanded to reflectfive separate downloads ofthatfile. Tlzism ethod perm its

        simplerandom samplingofthecompletesetofrecorded downloadsofal1flesin aday.n e

        sam ple size w asselected to obtain a 95% consdence intervalw ith a m argin oferrorofplusor

        minus5%.(Becauseoftheconsistencyofdailydownloadinfringementproportions,thefinal
        margin oferrorofthestudy wasconsiderablysmallen) 'fhisallowsforahigh levelof
        confdence thatthe results ofthe sm dy reflectthe percentage ofine nging downloadsperday for

        any day in the entire population,togetherw ith a high levelofprecision. To targetthis levelof

        precision,IconcludedthattheHodilesamplesizeshouldbe1750(250perday),whichisalso
        consistentw ith snm ple sizesin othersim ilaronline infringem entsm diesconducted illother

        (h
         xqRes.

                  13.   Iused usim ple random sam pling''to draw the sam ple within each day. ttsim ple

        random sam pling''isa universally accepted statisticalm ethodology in w hich cach item hmsthe

        sam e opporttmity to be chosen asany otheritem . In thiscase,each dow nload ofa fle in a
        particularday had the sam e chanceto be chosen asany otherdownload ofany fle w ithin that

        day. Foreach day,1used a standard random numbergeneratorto generate a listofnum bers to
        selectthe downloadsthatconstim tethe sam ple. n istoo isa standard and universally accepted

        m eansto generatea simple random sam ple.

                  14.   Iam attaching herewithasExhibitD thedownloadins% ctionsthatimplement
        the sam pling protocolIhave described in the foregoing fortheHotfle sm dy.Theprotocol

       providesforreplacementoffilesin thesnm ple underonly lim ited circum stances. First,ifthe fle
                                         .
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 8 of 12


                                                                 CASE NO.11-20427-W 1LLlAM SX URN OFF


        appeared by itsm etadata to contain ohild orotherillegalpornograpby,itw asnotincluded in tbe

        sample. Second,ifthecontentfilewascorrupt,inoperable,orunplayabl&undisplayable,for
        reasonsotherthanbeipg p%sword-protectedorencrypted,itwasnotincluded in thesmnple.In

        those omses,the fileswerereplaced in the snm ple by anotherrandom ly selected file according to

        the protocol.

               15.      M r.Zebrak provided allatlalysis showing hisconclusions asto which ofthe 1750

        samplefilesanalr ed Feredeterminedtobeeitherconfirm ed orhigllly likely copyright

       infringing,with theresultbroken dow n by dow llload date. He also provided inform ation asto

        whichfilesheclmssifedasllighlylikelyorconfirmednon-infrin#ng,thoseKtunknowable''files
       ms to w hich no determ ination could be m ade,and %tillegal''fles thatdid notappearto be

       copyrightinfringingbutthatM r.Zebrak concludedwerelikely illegalto distributeforother
       rtu nons. The infringem entdeterm inationsofeach download by day are item ized in theattached

       ExhibitE.

               16.      Bmsed upon m y yeview ofthem ostrecentdataprovided by M r.Zebrat',by doing

       the calculationsdescribed above,Iam able to concludethatapproxim atçly 90.3% ofa1ldaily

       downloadsoffleson Hotsle were downloads ofinfringing orlliglzly likely inG nging content;

       approxim ately 5.4% ofthedownloadsofâlesperday on Hotflew ere dow nlondqofnon-

       infringingorMghlylikelynon-infrine gEles;andtheremainingapproximately4.3% ofthe
       dow nloads ofGlesperday on Hotflew ere downloadsoffleswhose copyrightstatuscould not

       bereliably determinedinthetimeallowed.Oftheworksclmssifed asnon-infringing,0.5% (nine
       filesinthestudy)wereidentifedasbeinglikelyillegaltodistribute.
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 9 of 12


                                                                CAS:NO.ll-20427-WILLIAMS/TURNOFF

                     U sing standard and universally accepted statisticalm ethodsto calculate a m argin

       oferrorata95% consdencelevelyieldsamarginoferrorforthisstudyofapproximately l.3% .

       Thisindicatesa lligh levelofreliability.

              18.    In m y professionalopinion,the sam pling proceduresIZSGIin theH otfle study are

       based on standard and univirsally accepted statisticalmethods,andprovideascientifcallyvalid
       sam ple from w hich we can reliably estim ate the inddentsofcopyrightinl ngem entthrough the

       Hotsle website.

              19.    Icontinue to consideradditionalstatisticalanalysesthatmightbe conducted w ith

       additionaldata and/ortim è,including asto flesthatm ay been uploaded to Hotslebutnot

       downloaded,and reserve the rightto supplem entthisreportbmsed on such furtheranalyses. l

       furtherreserve the rightto supplem entorm odify thisreportbased on additionalinform ation that

       m ay com e to lightorbased on furtheranalyses.




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Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 10 of
                                      12


                                                   CASE NO .11-20427-W lLLlAM ST URNOFF


                           /ï?#'
             Dated:Novem ber. = 2c1,         A


                                       Richard W aterm an,Ph.D .




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Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 11 of
                                      12
                                                                  CASE NO.1I-2O4Z7-W ILLIAM S/FURN OFF


                                   UNITED STA TES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                CASE N O .11-20427-W 1LLIAM S/1'URN 0FF


      DISN EY ENTERPRISES,m C.,
      TW EN TIETH CENTIJRY FOX FILM CO RPORATION ,
      UN IV ERSAL CITY STUDIOS PROD UCTION S LLLP,
      COLUM BIA PICTURES INDUSTM S,lNC.,and
      W ARNER BRO S.EN TERTAIN M ENT lN C.,

      Plainti
            ys,


      HOTFILE CO RP.,ANTON TITOV ,and
      DOES 1-10.

       De# ndants.
                                                         I

      H OTFILE C0RP.,

      Counterclaim ant,

      V.

      W ARNER BROS.ENTERTU M ENT INC.,

      Counterde#ndant.
        '
                                                         /

                                CERTH /CATE OF SERW CE
               IHEREBY CERTIFY on this 18th day ofN ovem ber,2011,Iserved the follow ing
      documenton a1lcounselofrecord on tlw attached service listvia the Court's CM /ECF filing
      system :
                      RULE 26(a)(2)(B)REPORT OFDR.RICHARD W ATERMAN

      IflzrthercertifythatIam admittedto theUnited StatesCourtfortheSouthernDistrictofFlorida
           d certify thatthis CertificateofService wasexecuted o       'sdate.
                                                                 fn'
                                                   By:
                                                             D          Pozzm



                                                      10
Case 1:11-cv-20427-KMW Document 257-3 Entered on FLSD Docket 02/13/2012 Page 12 of
                                      12
                                                           CASE NO .11-20427-W ILLIAM S/TURNO FF


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                           Disney Enterprises,Inc-,etal-v.H otfle Corp.eta'
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                           CA SE N O.11-CIW 20427-W ILLIAM S-TURN O FF



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